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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


  MICHAEL J. CAPOZZOLI and LEE NAPIER,                   Civil Action No. 1:20-cv-04992-RMB-AMD

                 Plaintiffs,                             Hon. Renee Marie Bumb, presiding
                                                         Hon. Ann Marie Donio, referral
         v.
                                                         RETURN DATE: November 8, 2021
  CUMULUS MEDIA HOLDINGS, INC.,
  WESTWOOD ONE, LLC, TM STUDIOS, INC.,
  WILLIAM G. CLANCY, AND KIRK
  STIRLAND,

                         Defendants.


       DEFENDANTS’ REPLY BRIEF IN FURTHER SUPPORT OF DEFENDANTS’
                    MOTION FOR SUMMARY JUDGMENT

 I.     INTRODUCTION

        Despite their arguments to the contrary, Plaintiffs have not set forth a prima facie case of

 discrimination or retaliation. They have not identified similarly situated, but substantially younger

 employees retained after the reduction in force. Nor can they establish the prima facie elements

 of their retaliation claims — protected conduct and a causal connection. Even if they could,

 Defendants have set forth a legitimate, nondiscriminatory and nonretaliatory reason for their

 terminations, which Plaintiffs cannot rebut.

 II.    LEGAL ARGUMENT

        A.      Affiliate Sellers Outside TM Studios Are Not Similarly Situated To Plaintiffs.

        In their Brief in Opposition to Defendants’ Motion for Summary Judgment (“Pls.’ Br.”),

 Plaintiffs argue that they have met their prima facie case because Westwood One retained Affiliate

 Sellers outside of TM Studios who were substantially younger than Plaintiffs. (Pls.’ Br., p. 7).

 However, these employees were not similarly situated to Plaintiffs, and their retention cannot




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 support Plaintiffs’ prima facie case.

        To be similarly situated, employees must be “similar in ‘all relevant respects.’” Opsatnik

 v. Norfolk S. Corp., 335 Fed. App’x. 220, 222–23 (3d Cir. 2009). The similarly situated analysis

 is not mechanistic, and instead requires a “fact-intensive” inquiry. Monaco v. Am. Gen. Assur.

 Co., 359 F.3d 296, 305 (3d. Cir. 2004). Relevant factors include the employees’ supervisors,

 department, and whether they had to meet the same standards. See Bullock v. Children’s Hosp. of

 Phila., 71 F. Supp. 2d 482, 487 (3d Cir. 1999); Lepore v. Lanvision Sys., Inc., 113 Fed. App’x.

 449, 452 (3d Cir. 2004) (opining that similarly situated employees “work in the same area in

 approximately the same position”).

        Plaintiffs were Affiliate Sellers in TM Studios, which was a division within Westwood

 One’s business line. (Defendants’ Statement of Undisputed Material Facts (“DSUMF”) 2). They

 reported to Greg Clancy, who “ran” TM Studios. (DSUMF 2; Plaintiff’s Counterstatement of

 Material Facts (“PCMF”), Ex. 1, 99:3-5). As of 2017, TM Studios Affiliate Sellers sold a TM

 Studios product called EVO, marketed exclusively through TM Studios. (DSUMF 2). TM Studios

 Affiliate Sellers were expected to meet specific sales goals related to the EVO product line, and

 these goals did not apply to Affiliate Sellers in other divisions of Westwood One. (DSUMF 52-

 54, 61).   Other Westwood One Affiliate Sellers in different divisions (ex. news talk, sports,

 country music) sold different products, not EVO or other TM Studios products. (PCMF, Ex. 3,

 247:13-24).

        The reduction in force was limited to TM Studios, and six positions within TM Studios

 were eliminated, including all Affiliate Seller positions. (DSUMF 114-116; PCMF, Ex. 21, p. 8).

 No positions outside of TM Studios were eliminated. (PCMF, Ex. 21, p. 8).

        The employees identified by Plaintiffs as being “similarly situated” include a “Sr. Director,




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 Sports Affiliate Sales[,]” “Regional Manager 24/7 Formats[,]” and an “Affiliate Marketing

 Coordinator[.]” (PCMF, Ex 21). These employees were not part of TM Studios, did not sell TM

 Studio products, did not report to Mr. Clancy, and cannot be similarly situated. See Jackson v.

 Trump Entm’t Resorts, Inc., 149 F. Supp. 3d 502, 511 (D.N.J. 2015) (limiting similarly situated

 analysis in a RIF case to employees in the same position within the same sub-department).

        Additionally, the average age of all TM Studios employees following the reduction in force

 does not support Plaintiffs’ prima facie case. The inquiry is whether similarly situated employees

 were retained. Because Plaintiffs have identified no substantially younger, similarly situated

 employees retained, they have not established a prima facie case of age discrimination.

        B.      The Comments Identified (And Mischaracterized) By Plaintiffs Are Stray
                Remarks Unrelated To The Decision-Making Process.

        Plaintiffs claim that alleged remarks by Mr. Clancy and Kirk Stirland are evidence of age-

 based animus (Pls.’ Br., p. 10); however, the identified (and mischaracterized) comments are stray

 remarks because (1) they were made in the context of discussing TM Studios new product, EVO;

 or (2) they were made at least eleven months before the reduction in force; and (3) they were

 unconnected to decision-making process.

        To determine if a statement is probative of discriminatory intent or merely a stray remark,

 courts consider whether the statement was related to the decision-making process at-issue, “the

 temporal proximity of the statement to the adverse employment decision[,]” and “the purpose and

 content of the statement." Parker v. Verizon Pa., Inc., 309 Fed. App'x 551, 558-59 (3d Cir. 2009).

 Third Circuit has repeatedly held that comments made months before the alleged adverse

 employment action unrelated to the decision-making process are stray remarks even if they were

 made by decision-makers or supervisors. See Hyland v. Am. Intern. Group, 360 F. App’x 365,

 367 (3d Cir. 2010) (holding that statement by decisionmaker that plaintiff was the “old man” of



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 the operation was a stray remark); Hodczak v. Latrobe Specialty Steel Co., 451 F. App’x 238, 241-

 42 (3d Cir. 2011) (statements that “you are ready to retire”; “[y]ou have gray hair”; wanting a

 “younger workforce” and “new blood” were stray remarks); Keller v. Orix Credit Alliance, Inc.,

 130 F.3d 1101, 1111-12 (3d Cir. 1997) (holding statement "[i]f you are getting too old for the job,

 maybe you should hire one or two young bankers” was a stray remark).

         Regarding the alleged “old and stodgy” and “long in the tooth” comments by Mr. Stirland,

 Plaintiffs mischaracterize the record, stating that “Mr. Stirland continued to reiterate that Mr.

 Capozzoli and Mr. Napier were old and stodgy and long in the tooth” and Mr. Stirland specifically

 “called” Plaintiffs old and stodgy. (PCMF 66, 69). However, at his deposition, Mr. Capozzoli

 acknowledged that during these conversations, Mr. Stirland was discussing the perception of TM

 Studios in connection with the release of its new EVO product. (DSUMF 71). Mr. Capozzoli

 testified that Mr. Stirland stated:

                 A: . . . You guys have a serious perception problem. TM is old and stodgy
                 and long in the tooth. Have a serious perception problem. You are out of
                 sync.

                 (PCMF Ex. 1, 121:5-14).

 Mr. Capozzoli could not testify with certainty regarding whether Mr. Stirland’s comments were

 directed at him or TM Studios’ products. (DSUMF 69).

         Mr. Napier recognized that Mr. Stirland was talking about TM Studios’ reputation when

 he used the terms “old” and “stodgy” or referenced wanting a “hipness youth factor.” (PCMG 69;

 DSUMF 68). These comments were made during conversations where Mr. Stirland was discussing

 the new EVO product line, which was specifically being developed to replace “old” products.

 (DSUMF 71). In light of the context, these comments do not show age-based animus by Mr.

 Stirland. Additionally, these comments were unconnected to the reorganization decision and were




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 made, at a minimum, eleven months before their termination.

           Similarly, Mr. Clancy’s alleged comment that Mr. Napier was “an old musician looking

 for a gig” can only be viewed as a stray remark because it was made over eleven months before

 the termination and had no connection to the reorganization. As a result, these comments do not

 support Plaintiffs’ discrimination claims.

           C.     Mr. Capozzoli’s Affidavit Is A Sham Affidavit.

           Under the sham affidavit doctrine, “a party may not create a material issue of fact to defeat

 summary judgment by filing an affidavit disputing his or her own sworn testimony without

 demonstrating a plausible explanation for the conflict.” Jiminez v. All Am. Rathskeller, Inc., 503

 F. 3d 247, 251 (3d Cir. 2007). Such affidavits “cannot raise a genuine issue of fact because it is

 merely a variance from earlier deposition testimony, and therefore no reasonable jury could rely

 on it to find for the nonmoving [party].” Id. at 253. Thus, “if it is clear that an affidavit is offered

 solely for the purpose of defeating summary judgment, it is proper for the trial judge to conclude

 that no reasonable jury could accord that affidavit evidentiary weight and that summary judgment

 is appropriate.” Id.

           In his affidavit, in an attempt to create a genuine issue of material fact, Mr. Capozzoli

 affirms that he has managerial or supervisory experience, including at Premiere Radio

 Networks/Clear Channel. (PCMF, Ex. 18, ⁋ 5). 1 During his deposition, Mr. Capozzoli was

 specifically asked about his job history, and more specifically, about his responsibilities at

 Premiere Radio Networks.          He stated, “I basically held the same position that I did with

 Cumulus[,] TM [Studios], Westwood, . . . I sold jingle and production and imaging services to

 radio stations.” (PCMF, Ex. 18, ⁋ 5). He did not mention managerial-level responsibilities, nor



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     Even if this affidavit is considered, there is no evidence Mr. Clancy was aware of this experience.


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 did his position at Westwood One include managerial responsibilities.

         Mr. Capozzoli also attempts to create a genuine issue of material fact regarding how the

 sale process worked in TM Studios before the reorganization. In his deposition, Mr. Capozzoli

 explained the sales process, stating that “[t]he first step [of the sales process] is to get [the client]

 to say “yes.” [He completes] the agreement, and then you [do] what is called a creative call.”

 (PCMF, Ex. 1, 37:23-38:5). He described himself as “the guy between the station and the creative

 person.” (PCMF, Ex. 1, 37:23-38:5). And after getting a “yes[,]” he would “set up a creative call”

 and put the creative professionals and the radio station representatives “on the same page.”

 (PCMF, Ex. 1, 38:5-17). In his declaration, however, Mr. Capozzoli describes a different process

 wherein writers and producers would get direct calls from Production Directors at radio stations,

 make sales, and his only role was to generate the agreement. (PCMF, Ex. 18).

         Mr. Capozzoli’s affidavit impermissibly conflicts with his sworn deposition testimony, is

 only offered to defeat summary judgment, and should be afforded no evidentiary weight.

         D.      Hiring Chris Stevens Is Not Evidence Of Pretext.

         Plaintiffs assert that hiring Chris Stevens to be the Vice President of Affiliate Sales is

 evidence of pretext (Pls.’ Br., p. 18). However, Mr. Clancy undisputedly wanted someone for the

 position located in Dallas, Texas, which is where TM Studios was located, to support him in the

 office. (PCMF, Ex. 1, 37:23-38:2; Ex., 3, 16:17-18, 234:10-18, 275:10-12; Ex. 5, 74:2-5). Mr.

 Stevens was in Texas; Mr. Capozzoli was not. That Mr. Clancy did not ask Mr. Capozzoli to move

 halfway across the country for a position is not evidence of age-based animus. 2

         Additionally, Mr. Clancy testified that he wanted someone with “higher organization



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   Mr. Capozzoli’s argument is further belied by the fact that Mr. Capozzoli testified he limited his
 job search based on location, whether he could work from home, and that he was not interested in
 moving to, for example, South Carolina. (PCMF Ex. 1, 227:15-228:3).


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 skills” to manage the sales process, and he did not view Mr. Capozzoli as having that skill set, and

 instead, viewed him as an “aggressive seller.” (PCMF, Ex. 3, 275:10-13; 277:4-16). Mr. Clancy’s

 determination that Mr. Stevens had the skill set he was looking for and Mr. Capozzoli did not,

 given his long history of working with both Mr. Stevens and Mr. Capozzoli, is not evidence of

 age-based animus, but reflects a business judgment by Mr. Clancy. See Healy v. New York Life

 Ins. Co., 860 F.2d 1209, 1220 (3d Cir. 1988) (Businesses “have the right to make business

 judgments on employee status, particularly when the decision involves subjective factors[.]”).

        Plaintiffs further claim that the creative roles in TM Studios were involved in sales before

 the reorganization of TM Studio, and that their involvement in sales before the reorganization

 shows that Defendants’ reasons for eliminating the Affiliate Seller positions are pretexual. (Pls.

 Br., p. 16) But, having creative roles involved in the sales process differs from having those

 creative roles lead the sales process, which happened after the reorganization of TM Studios.

        As Mr. Stevens testified, in his role as Vice President of Affiliate Sales, he only made sales

 “from a standpoint [of creative employees] bringing the prospect to [him] to close the deal” and

 “putting together the contract information.” (PCMF, Ex. 5, 40:7-10; 75:1-17). He described it as

 a “hybrid model” that had not previously existed and stated that things were much different than

 when he had previously worked for TM Studios as an Affiliate Seller. (PCMF, Ex. 5, 81:4-23).

 Plaintiffs lack first-hand knowledge of how TM Studios operated after their employment was

 terminated. Thus, any attempts to dispute Mr. Stevens characterizations of the new sales model

 are unavailing.

        Finally, Plaintiffs claim that Mr. Stevens replaced them. In support of their argument,

 Plaintiffs cite to cases where courts denied summary judgment because the employer told the

 employee his position was eliminated but replaced him with someone in the same exact position.




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 See, e.g. Waldron SL Industries, Inc., 56 F.3d 491, 493 (1995) (denying summary judgment where

 employer set up sham reorganization, belied by the documentation, and placed younger employee

 in same exact role); Spagnoli v. Brown & Brown Metro., Inc., No. 06-414, 2007 WL 2362602

 (D.N.J. Aug. 15, 2007) 3 (denying summary judgment where employee was only person terminated

 in sham restructuring shortly after taking leave and emails contradicted reasons for termination);

 Pilcher v. Continental Electronics Corp., 121 F.3d 703 (5th Cir. 1997) (characterizing the situation

 as a “one-on-one replacement” and differentiating situations where several jobs were conflated

 into one, which would not be evidence of discrimination).

        Mr. Stevens was not hired for an Affiliate Seller position, and no one holds an Affiliate

 Seller role within TM Studios. Mr. Stevens was hired to be the Vice President of Affiliate Sales,

 which was “much different” than the role of Affiliate Seller – a role he held for over 15 years with

 Westwood One. (PCMF, Ex. 5, 76:25-77:8; 81:18-82:3). Mr. Stevens specifically testified “there

 was a lot more managerial aspect[s]” to his new role than his previous role and that he spent a

 much greater time on administrative tasks than he previously did. (PCMF, Ex. 5, 76:25-77:8;

 81:18-82:3).

        An employee is not replaced when “another employee is assigned to perform the plaintiff’s

 duties in addition to other duties, or when the work is redistributed among other existing employees

 performing related work.” Michniewicz v. Metasource, LLC, 756 F. Supp. 2d 657, 666 (E.D. Pa.

 2010); Barnes v. GenCorp., Inc., 896 F.2d 1457, 1465 (6th Cir. 1990). Similarly, here, Plaintiffs’

 sales duties were redistributed between both existing creative personnel (such as Mr. Clancy) and

 Mr. Stevens, who was responsible, not just for making sales, but managing the entire affiliate sales




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  Plaintiffs completely mischaracterize Spagnoli. The denial of summary judgment was not based
 on the fact that the plaintiff was replaced.


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 process. (DUMF 119-120). 4

        Finally, Mr. Clancy is 58 years old; Mr. Stirland is 68. (PCMF 151, Ex. 4, 25:4-6). They

 are both members of the protected class, and “a plaintiff’s ability to raise an inference of

 discrimination is hampered when the decision maker is a member of the plaintiff’s protected class.”

 Elwell v. PPL, Inc., 47 Fed. App’x 183, 189 (3d Cir. 2002). At bottom, Plaintiffs have not pointed

 to any evidence that shows that Defendants’ legitimate, non-discriminatory reason for eliminating

 their positions – the reorganization of TM Studios which coincided with the decision to shut down

 the HitDisc division – is pretextual and that Mr. Clancy and Mr. Stirland’s true motive was age

 discrimination.

        E.      Mr. Napier’s Disagreement With The Thoroughness Of The Investigation Is
                Not Evidence Of Pretext.

        Plaintiffs assert that Defendants did not investigate Mr. Napier’s claims of discrimination,

 which is also evidence of pretext. (Pls.’ Br., p. 20). However, Plaintiffs’ 5 disagreement with the

 thoroughness of the investigation is immaterial.

        Mr. Napier complained to Melissa Garza and Todd McCarty about being put on a

 performance improvement plan, stating “my only conclusion is that this is age discrimination.”

 (DSUMF 97, 100-101). Ms. Garza was already aware of the issues with Mr. Napier’s performance

 and had discussed Mr. Napier’s performance with Mr. Clancy. (DSUMF 96). Beyond Mr.

 Napier’s disagreement with the performance improvement plan and his own assessment of his

 performance, he put forth no further facts or incidents supporting his claim. (DSUMF 101-02).

        After Ms. Garza received the complaint, she spoke with human resources to determine if


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   Even if Mr. Stevens did replace Plaintiffs, which he did not, the Third Circuit has held that
 replacement with a younger employee is insufficient to establish pretext. Farzan v. Vanguard
 Grp., Inc., 582 F. App’x 105, 108-09 (3d Cir. 2014).
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   It is unclear how an investigation into Mr. Napier’s complaint of discrimination could bear on
 whether Mr. Capozzoli’s termination was discriminatory or retaliatory.


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  there had been any prior complaints by Mr. Napier and spoke to Mr. Clancy and Mr. Stirland about

  Mr. Napier’s claims. (PCMF Ex. 6, 44:24-45:11). Any further investigation into Mr. Napier’s

  claims would have been unnecessary as Ms. Garza already knew the relevant facts.

         The cases cited by Plaintiffs (all from outside this circuit) relate to situations where an

  employee was terminated for misconduct, yet not given the opportunity to defend himself. (Pl.

  Br., 21-22). Mr. Napier’s performance played no role in his termination, Ms. Garza was not a

  decision-maker regarding his termination, and these cases do not support the proposition that Mr.

  Napier’s dissatisfaction with Defendants’ response to his complaint, made almost a year before his

  termination, is evidence of pretext.

         F.      Capozzoli Did Not Engage In Protected Activity.

         Plaintiffs assert that Mr. Capozzoli’s decision not to participate in a call with Mr. Napier

  regarding strategies to improve his sales performance was protected activity because Mr.

  Capozzoli was acting under a reasonable belief that Defendants were engaging in age

  discrimination. (Pls.’ Br., p. 27). This argument fails because Mr. Capozzoli never informed

  Defendants of his belief or took any actions that would have allowed Defendants to conclude he

  opposed a discriminatory practice.

         “To qualify as protected activity, a plaintiff’s opposition to an illegal employment practice

  must raise the issue of discrimination and identify the alleged discriminatory practice.” Curay-

  Cramer v. Uruline Acad., 450 F.3d 130, 135 (3d Cir. 2005). In other words, “it must be possible

  to discern from the context of the statement that the employee opposes an unlawful employment

  practice.” Id.; Broad v. Home Depot U.S.A., Inc., No. 14-771, 2016 WL 3566959, at *15 (D.N.J.

  June 30, 2016) (“To constitute protected conduct under NJLAD, Plaintiff's comments must express

  opposition to discrimination.”)

         Crawford v. Metro Gov’t of Nashville, 555 U.S. 217, 283 (2009), relied on by Plaintiffs,


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  does not protect employees “who do not communicate their views to their employers through

  purposive conduct.”      (Alito, J., concurring).       Even the Equal Employment Opportunity

  Commission guidance cited by Plaintiffs makes clear that to engage in protected activity by

  refusing to obey an order, the employee needs to identify that his reason for refusal is a belief that

  the opposed practice is discriminatory. See, e.g., EEOC v. HBE Corp., 135 F.3d 543, 549 (8th Cir.

  1998) (holding that manager refusing to terminate employee was protected activity because

  manager informed employer he believed the decision was discriminatory).

         Mr. Capozzoli did not communicate his belief that Westwood One was engaging in

  discrimination to Defendants. He declined to participate in a performance conversation with Mr.

  Clancy and Mr. Napier, stating that he “didn’t want to be involved if his job was not in jeopardy[,]”

  but did not cite discrimination for his reason for declining. (DSUMF 93-94). He never tied his

  decision to his belief that the performance discussion was discriminatory. Cf. Barber v. CSX

  Distribution Servs., 68 F.3d 694, 702 (3d Cir. 1995) (employee did not engage in protected activity

  where he did “not explicitly or implicitly allege that age was the reason for the alleged unfairness.”)

  As a result, he did not engage in protected activity.

         G.      Even If Mr. Capozzoli Did Engage In Protected Activity By Complaining to
                 Ms. Westover and Mr. Green, There Is No Evidence Any Decisionmakers
                 Were Aware Of The Protected Activity.

         Plaintiff also argue that Mr. Capozzoli engaged in protected activity when he told Debbie

  Westover and Dennis Green he “thought they were messing with [Mr. Napier] because of his age.”

  (Pls.’ Br., p. 23). 6 Even if this were protected activity, it still would not establish a retaliation

  claim because there is no evidence that Ms. Westover or Mr. Green communicated this complaint


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   Mr. Capozzoli testified that his decision not to participate in the call regarding Mr. Napier’s
  performance was the sole reason he was retaliated against. (DSUMF 132). As a result, he should
  not be able to now argue that his comments to Ms. Westover led Defendants to terminate his
  employment.


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  to anyone else at Westwood One, including Mr. Clancy and Mr. Stirland.

         In order to establish a retaliation claim, the decisionmakers involved in the materially

  adverse employment action “must be aware of the protected conduct.” Ambrose v. Twp. of

  Robinson, 303 F.3d 488, 493 (3d Cir. 2002); Abramson v. William Patterson College, 260 F.3d

  265, 286 n.17 (3d Cir. 2001) (under NJLAD “an employee must show that he or she engaged in

  protected activity known to the employer”) Plaintiffs have identified no evidence that Ms.

  Westover or Mr. Green communicated Capozzoli’s alleged statements to anyone else at Westwood

  One. And, as a result, Mr. Capozzoli cannot establish a causal connection between his alleged

  protected activity and his termination.

         H.      There Is No Evidence Of Antagonism.

         Because Plaintiffs recognize that the time period between Napier’s protected conduct and

  his termination cannot establish a causal connection, they attempt there was a pattern of

  antagonism following Napier’s protected activity. (Pls.’ Br., 29).

         Neither Mr. Capozzoli’s vague assertion that Mr. Clancy “kind of went silent” after Mr.

  Capozzoli declined to participate in the call with Mr. Napier 7 nor that Mr. Capozzoli and Mr.

  Napier had to report their sales calls rise to the level required to establish antagonism. Cf. Robinson

  v. SEPTA, 982 F.2d 892, 894 (3d Cir. 1993) (holding that there was a “pattern of antagonism”

  where plaintiff was subject to a “constant barrage of written and verbal warnings”); Bartos v. MHM

  Corr. Servs., 454 Fed. App’x 74, 79 (3d Cir. 2011) (finding no pattern of antagonism where

  employee was not subject to “consistent or continuous” disciplinary actions); Gaston v. U.S. Postal

  Service, No. 05-CV-5286, 2008 WL 2682850, at *7 (D.N.J. July 2, 2008) (noting that “[t]ypical


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    As explained in Section I.F, infra, Mr. Capozzoli’s decision not to participate in the call was not
  protected activity so Mr. Clancy’s reaction to that decision could not be viewed as evidence of
  retaliatory intent or antagonism. Further, Mr. Capozzoli testified that after this call, “everything
  was good.” (DSUMF 133).


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  examples of such antagonism include insults or threats.”).

          Further, Defendants’ continued implementation of Mr. Napier’s performance improvement

  plan is not evidence of antagonism. The performance improvement plan, based on Mr. Napier’s

  failure to meet his EVO sales goals, was in place before Mr. Napier allegedly engaged in protected

  activity. Indeed, it prompted Mr. Napier’s complaint. (DSUMF 97, 100). That Defendants did

  not revoke the performance improvement plan, which Mr. Napier passed, immediately after his

  complaint is not evidence of antagonism. See Hooker v. Novo Nordisk, Inc., No. 16-4562, 2020

  WL 526165, at * 17 (D.N.J. Jan. 31, 2020), aff’d, 20-1426 (3d Cir. 2021) (noting that “it is a high

  hurdle for plaintiff to show retaliatory animus [based on being placed on a performance

  improvement plan] when he . . . received significant negative feedback before” engaging in

  protected activity).

          Without a causal connection between their alleged protected activity and their termination,

  Plaintiffs cannot set forth a retaliation claim.

  III.    CONCLUSION

          Plaintiffs’ claims against Defendants fail as a matter of law. They cannot establish a prima

  facie case of discrimination or retaliation. Their termination was part of a larger reduction in force

  within the TM Studios division. Plaintiffs have not put forth evidence to show that the reduction

  in force was actually a cover for age discrimination or retaliation. Accordingly, Defendants

  respectfully request this Court grant their Motion for Summary Judgment and dismiss Plaintiffs’

  Complaint, with prejudice, in its entirety.




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   Dated: November 1, 2021                  Kirk Stirland




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                                  CERTIFICATE OF SERVICE


         I hereby certify that on this 1st day of November, 2021, the foregoing document was filed

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  served upon all counsel of record.

                                                       /s/ Paul C. Lantis
                                                       Paul C. Lantis




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